Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 1 of 16




            EXHIBIT 1
                                                         Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 2 of 16



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                                                                                 SUPERIOR COURT OF CALIFORNIA
                                                                                     COUNTY OF SANTA CLARA


                                                   MICHELLE BEVERAGE, et al.,                               Case N0.: 20CV3 70535

                                                                   Plaintiffs,                              ORDER CONCERNING DEFENDANT
                                                                                                            APPLE INC.’S DEMURRER TO
                                                          VS.                                               PLAINTIFFS’ COMPLAINT

                                                   APPLE INC., et al.,

                                                                   Defendants.




                                                           Plaintiffs bring this action against Defendant Apple Inc. 0n behalf 0f a putative class 0f

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                                                   California consumers.    They challenge Apple’s removal 0f the social and gaming software
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                                                   application “Fortnite” from its application marketplace (the “App Store”) and Apple’s related

                                                   alleged abuse 0f monopolistic power.

                                                           Following a pause 0n merits-related proceedings t0 allow the parties t0 address the post-

                                                   trial decision in a related federal case, Epic   Games Inc. v. Apple Inc. (N.D. Cal., N0. 4:20-CV-

                                                   05640) (“Epic”), Plaintiffs ﬁled the operative First Amended Class Action Complaint (“FAC”).

                                                   Apple now demurs t0 each cause 0f action in the FAC for failure t0 state a claim. (Code CiV.

                                                   Proc., § 430.10, subd. (6).) Plaintiffs oppose the demurrer in its entirety.
                                                             Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 3 of 16




                                                             The Court issued a tentative ruling 0n February 2, 2022, and n0 one appeared at the

                                                   hearing 0n February 3 t0 contest it. The Court now issues its ﬁnal order, which SUSTAINS the

                                                   demurrer with 60 days’ leave t0 amend.

                                                   I.        BACKGROUND
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                                                             A.         Factual

                                                             Fortnite is a social and gaming application 0r “app” created by Epic Games, Inc.

                                                   (“Epic”).      Using the app, dozens 0f participants compete individually 0r in teams t0 be the last

                                                   one standing at the end 0f a game. (FAC, 1] 47.) Spectators are a major part 0f the experience,

                                                   with sometimes hundreds 0f thousands watching either in the app 0r 0n websites like twitch.tv.

                                                   (Ibid.)   A feature called “CrossPlay” allows users t0 interact with others using Fortnite 0n
                                                   different platforms, such as PC, Mac, XboxOne, and PlayStation 4. (Id., 1] 49.)                   A signiﬁcant
                                                   part 0f Fortnite’s fun and appeal comes from grouping up with friends 0r random teammates,

                                                   which also lets users show off their characters and the unique ways they have customized them.

                                                   (Id, 1] 48.) Users may purchase digital currency (“V-Bucks”) t0 buy digital goods including

                                                   costumes for playable characters.        (1d,,   W 50—5   1 .)   For users 0f Apple’s mobile operating

                                                   system, iOS, these transactions have occurred through Apple’s in-app purchase system (IAP).

                                                   (Id., 1] 50.)     Apple takes a thirty percent cut, as it typically does for all in-app purchases 0n iOS

                                                   devices. (Ibid.)

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                                                   Fortnite 0n PC, Mac, and console platforms, with the “same gameplay, same map, same content,

                                                   same weekly updates.” (FAC,           W 52—53.) The app became immensely popular: by May 2020,                    it



                                                   reached $1 billion in revenue from mobile (mostly iOS) and attracted a cumulative total 0f 350

                                                   million users—roughly three percent 0f the world’s population.                (Id.,   W 54—55.)
                                                             Plaintiffs allege that Apple has a total monopoly 0n the legal distribution 0f apps t0 iOS


                                                   devices and considerable market power in the mobile device market as a whole, and has abused

                                                   its   dominance through its actions towards Fortnite and its related policies and practices.              (Id.,


                                                   w 62—1     14.)
                                                           Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 4 of 16




                                                            Citing to ﬁlings in Epic, Plaintiffs allege that 0n June 30, 2020, Epic’s CEO contacted

                                                   Apple’s leadership t0 propose new features related t0 Fortnight, including an Epic payment

                                                   processing system and Epic’s own app store within the iOS ecosystem. (FAC, 1] 115.) Apple

                                                   swiftly and completely rej ected these ideas Via its legal team. (1d,, 1] 116.) Epic informed Apple

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                                                   that it would nonetheless proceed t0 launch a direct payment system Via Fortnite 0n iOS devices.


                                                   (Id. , 1] 118.)   Apple responded by unilaterally removing Fortnite from the App Store, preventing

                                                   users from downloading the app 0r updating it as updates are released.        (Id., 1] 119.)   Epic ﬁled

                                                   suit against Apple in the Northern District 0f California.   (Id., 1] 122.)


                                                            Despite the issuance 0f what Plaintiffs characterize an adverse opinion in Epic, Apple

                                                   refuses t0 reinstate Fortnite 0n the App Store.   (FAC, 1] 125.)   It has stated it will refuse t0 even


                                                   consider reinstating Fortnite until the complete resolution 0f the appeals process, and has applied

                                                   for a stay 0f the “baseline” injunctive relief provided by the federal court.1 (Id,     W 127—128.)
                                                            Based 0n these allegations, Plaintiffs bring this action 0n behalf 0f a putative class 0f

                                                   “[a]ll California citizens that (a) possess, own, 0r have access t0 an iOS Device manufactured by


                                                   Apple; (b) have downloaded the Fortnite application onto their iOS Device; and (c) have

                                                   purchased digital currency 0r goods within the Fortnite application utilizing Apple’s in-app

                                                   purchase system.” (FAC, 1] 13 1 .) Plaintiffs “seek[] t0 obtain, in one proceeding, before one trier

                                                   0f fact, a ruling 0n Apple’s unjust and unfair use 0f power t0 raise prices for consumers 0n the

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                                                            The complaint asserts the following causes 0f action: (1) Violation 0f the Cartwright Act,

                                                   Business    & Professions Code section 16700 et seq.; (2) Violation 0f the Unfair Competition Law
                                                   (“UCL”), Business & Professions Code section 17200 et seq., “unlawful” prong; (3) Violation 0f

                                                   the UCL, “unfair” prong; and (4) breach 0f the implied covenant 0f good faith and fair dealing.




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                                                       That stay was granted as t0 one portion 0f the permanent injunction. (See Epic Games, Inc. v.
                                                   Apple, Inc. (9th Cir. Dec. 8, 2021, Nos. 21-16506, 21-16695) 2021 U.S. App. LEXIS 36191, at
                                                   *1—2)
                                                           Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 5 of 16




                                                            B.      Procedural

                                                            Plaintiffs ﬁled this action 0n September 17, 2020.   The initial discovery stay was lifted 0n

                                                   February 18, 2021, and the parties began t0 meet and confer about discovery. Apple ﬁled a

                                                   demurrer, which was scheduled t0 be heard in July 2021.

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                                                             The related action in Epic was ﬁled by Epic 0n August 13, 2020.      In that case, Epic

                                                   alleged Violations 0f federal and state antitrust laws and the   UCL based upon Apple’s operation
                                                   0f its App Store. (Epic Games, Inc. v. Apple Inc. (N.D.Cal. Sep. 10, 2021, N0. 4:20-CV-05640-

                                                   YGR) 2021 U.S.Dist.LEXIS 172303, at *10 (“Epic Trial Decision”).)
                                                             The Court denied Apple’s motion t0 stay this entire action in favor 0f Epic in an order

                                                   ﬁled 0n May 5, 2021. But it suggested that it would be beneﬁcial for the parties and the Court t0

                                                   review the decision in Epic before conducting any merits-related proceedings in this case—

                                                   including 0n Apple’s demurrer.     The parties agreed t0 delay full brieﬁng and hearing 0f the

                                                   demurrer until after the decision in Epic issued.

                                                             The Epic Trial Decision issued 0n September 10, 2021 .2 Plaintiffs ﬁled the FAC on

                                                   October 12, addressing that decision as they deemed appropriate. Apple has again demurred.

                                                   II.      REQUESTS FOR JUDICIAL NOTICE
                                                            Both Apple and Plaintiffs request judicial notice 0f agreements, guidelines, and other

                                                   materials published t0 Apple’s website, the contents 0f which are undisputed.       The parties d0 not

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                                                   oppose one another’s requests, and the Court GRANTS them. (See EVid. Code, § 452, subd. (h);
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                                                   Ingram v. Flippo (1999) 74 Cal.App.4th 1280, 1285, fn. 3 [“Since the contents 0f the letter and

                                                   media release form the basis 0f the allegations in the complaint, it is essential that we evaluate

                                                   the complaint by reference t0 these documents.”].)

                                                   III.     LEGAL STANDARD
                                                            A demurrer tests the legal sufﬁciency 0f the complaint. (Chen    v.   PayPal, Inc. (2021) 61

                                                   Cal.App.5th 559, 568.) Consequently, it “reaches only t0 the contents 0f the pleading and such

                                                   matters as may be considered under the doctrine ofjudicial notice.” (Weil v. Barthel (1955) 45




                                                   2
                                                       Apple appealed the Epic Trial Decision, and its appeal remains pending.
                                                         Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 6 of 16




                                                   Cal.2d 835, 837; see also Code CiV. Proc., § 430.30, subd. (a).)    “It is not the ordinary function


                                                   0f a demurrer t0 test the truth 0f the plaintiff” s allegations 0r the accuracy with which he

                                                   describes the defendant’s conduct.      [T]he facts alleged in the pleading are deemed t0 be true,

                                                   however improbable they may be.” (Align Technology, Inc. v. Tran (2009) 179 Cal.App.4th 949,

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                                                   958, internal citations and quotations omitted.)

                                                          In ruling 0n a demurrer, the Court must liberally construe the allegations 0f the

                                                   complaint, with a View t0 substantial justice between the parties. (Glennen v. Allergan, Inc.

                                                   (2016) 247 Cal.App.4th 1, 6.) Nevertheless, while “[a] demurrer admits all facts properly

                                                   pleaded, [it does] not [admit] contentions, deductions 0r conclusions 0f law 0r fact.” (George v.

                                                   Automobile Club ofSouthern California (201 1) 201 Cal.App.4th 1112, 1120.) A demurrer will

                                                   succeed where the allegations and matters subject t0 judicial notice clearly disclose a defense 0r

                                                   bar t0 recovery. (Casterson v. Superior Court (2002) 101 Cal.App.4th 177, 183.)

                                                   IV.    THE EPIC TRIAL DECISION
                                                          The Epic Trial Decision is too long t0 be addressed in detail here, but the Court will

                                                   summarize its key ﬁndings. As t0 the antitrust claims in that case, the federal court deﬁned the

                                                   relevant market as “digital mobile gaming transactions,” and found that the record at trial did not

                                                   ultimately support the conclusion “that Apple is a monopolist under either federal 0r state

                                                   antitrust laws.” (Epic Trial Decision at *12.)


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                                                          and extraordinarily high proﬁt margins, these factors alone d0 not show antitrust

                                                          conduct.     The ﬁnal trial record did not include evidence 0f other critical factors,

                                                          such as barriers t0 entry and conduct decreasing output 0r decreasing innovation

                                                          in the relevant market. The Court does not ﬁnd that it is impossible; only that Epic


                                                          Games failed in its burden t0 demonstrate Apple is an illegal monopolist.

                                                   (Epic Trial Decision at *12—13.)

                                                          But as t0 the claim under the “unfair” prong 0f the UCL, the trial court held “that Apple’s

                                                   anti-steering provisions hide critical information from consumers and illegally stiﬂe consumer


                                                   choice. When coupled with Apple’s incipient antitrust Violations, these anti-steering provisions
                                                         Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 7 of 16




                                                   are anticompetitive and a nationwide remedy t0 eliminate those provisions is warranted.” (Epic

                                                   Trial Decision at * 1 3.)   The court accordingly held that

                                                           a nationwide injunction shall issue enjoining Apple from prohibiting developers

                                                           t0 include in their:

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                                                                   Apps and their metadata buttons, external links, 0r other calls t0 action

                                                                   that direct customers t0 purchasing mechanisms, in addition to IAP.


                                                           Nor may Apple prohibit developers from:

                                                                   Communicating with customers through points 0f contact obtained

                                                                   voluntarily from customers through account registration within the app.

                                                   (Epic Trial Decision at *303.)

                                                   IV.     DISCUSSION
                                                           Apple demurs t0 the FAC 0n the following grounds: (1) Plaintiffs are not entitled t0 an

                                                   injunction forcing Fortnite back onto the App Store because such relief is foreclosed by federal

                                                   law; (2) the Cartwright Act cause 0f action fails t0 plead a relevant market, concerted action,

                                                   cognizable anticompetitive conduct, 0r separate products under a tying theory; (3) the UCL

                                                   claims fail with the Cartwright Act claim and “because Plaintiffs have not satisﬁed basic

                                                   pleading standards”; and (4) the claim for breach 0f the implied covenant 0f good faith and fair

                                                   dealing fails t0 identify the contractual terms at issue, and is foreclosed by the express terms and

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                                                   the only contract that could be at issue.

                                                           Before addressing the issue 0f relief, the Court will address whether the FAC otherwise

                                                   states a cause 0f action.


                                                           A.      The First Cause 0f Action Under the Cartwright Act and the Second Cause

                                                                   0f Action Under the UCL “Unlawful” Prong

                                                           The Cartwright Act, contained in Business and Professions Code section 16700, et seq.,

                                                   generally codiﬁes the common law prohibition against restraint 0f trade. (G.H.I.I. v. MTS,
                                                         Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 8 of 16




                                                   Inc. (1983) 147 Cal.App.3d 256, 264 (G.H.I.I).)3       Recovery is provided where the activities 0f a

                                                   combination 0f capital, skill, 0r acts by two 0r more persons result in a restraint 0f trade.    (Id. at


                                                   pp. 264—265, citing Bus.   & Prof. Code, §§ 16720 [deﬁning a “trust” for purposes 0f the Act] &
                                                   16750 [establishing a private right 0f action].) “In order t0 maintain a cause 0f action for such

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                                                   combination in restraint 0f trade, the complaint must allege: The formation and operation 0f the

                                                   conspiracy; the illegal acts done pursuant thereto; a purpose t0 restrain trade; and the damage

                                                   caused by such acts.”   (Id. at p. 265; see also   Marsh v. Anesthesia Services Medical Group,

                                                   Inc. (201 1) 200 Ca1.App.4th 480, 492—493 (Marsh).)




                                                          Our high    court   demands a “high degree 0f particularity          in the pleading     of

                                                          Cartwright Act Violations. (Chicago Title Ins. C0. V. Great Western Financial

                                                          Corp.   (1968)   69 Cal.2d 305, 326—328           [(Chicago   Title)].)”   Consequently,

                                                          generalized allegations 0f civil antitrust Violations are usually insufﬁcient and the

                                                          unlawful    combination    0r   conspiracy     must be    alleged   with   speciﬁcity.

                                                           [G]eneral allegations 0f a conspiracy unaccompanied           by a statement 0f facts

                                                          constituting the conspiracy and explaining its objectives and impact in restraint 0f

                                                          trade will not sufﬁce.




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                                                          cause 0f action are deemed admitted and assumed t0 be true, while the general

                                                          rule 0f pleading that a complaint must be given liberal construction in order t0

                                                          achieve substantial justice between the parties is applicable.


                                                   3
                                                     “The Cartwright Act is patterned after the federal Sherman Antitrust Act (1 5 U.S.C. § 1 et seq.)
                                                   and decisions under the latter act are applicable t0 the former.” (G.H.I.I., supra, 147 Cal.App.3d
                                                   at p. 265 [citing cases].) But notably, “the Cartwright Act contains n0 provision parallel t0 the
                                                   Sherman Act’s prohibition against monopolization (15 U.S.C. § 2),” and it thus “applies only t0
                                                   a ‘combination’ involving ‘two 0r more persons’ (§ 16720), not t0 unilateral conduct.”
                                                   (Flagship Theatres 0fPalm Desert, LLC v. Century Theatres, Inc. (201 1) 198 Cal.App.4th 1366,
                                                   1386.) Notably, Apple Inc. v. Pepper (2019)        _U.S._ [139 S.Ct. 1514, 1520, 203 L.Ed.2d
                                                   802, 808], which is cited in the FAC, was alleged under Section 2 0f the Sherman Act.
                                                           Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 9 of 16




                                                   (G.H.I.I., supra, 147 Cal.App.3d at pp. 265—266, citations omitted.)


                                                            Ultimately (unless a per se framework applies),4 an antitrust plaintiff “must prove that the

                                                   defendant’s conduct harmed competition in the relevant market and that any procompetitive

                                                   justiﬁcations for the conduct did not outweigh that harm,” applying the “rule 0f reason.”

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                                                   (Flagship Theatres ofPalm Desert, LLC v. Century Theatres, Inc. (2020) 55 Cal.App.5th 381,

                                                   396, citing Exxon Corp. v. Superior Court (1997) 51 Cal.App.4th 1672 (Exxon).) In analyzing

                                                   the pleadings, “the identiﬁcation 0f the relevant market should be treated as a matter 0f law.   .
                                                                                                                                                        ..”



                                                   (Marsh, supra, 200 Cal.App.4th at p. 499.)

                                                             Here, Plaintiffs allege that Apple has violated the Cartwright Act “by maintaining

                                                   complete control 0f the approval 0f all software and/or applications listed in the App Store

                                                   marketplace, maintaining an unreasonably high 30% fee for all purchases 0f apps 0n the App

                                                   Store and digital purchases within said apps, and       barring creation 0f separate app store fronts

                                                   0n iOS Devices,” as well as by “disallow[ing] developers and ﬁrms from maintaining their own

                                                   payment system within apps ....”        (FAC,   W 145—146.)
                                                                    1.     Failure t0 Plead a Relevant Market

                                                            Apple ﬁrst contends that Plaintiffs fail t0 allege a relevant market, complaining that the

                                                   FAC refers to ten different markets.5 Plaintiffs respond that many 0f these references, for
                                                   example, those that address the mobile phone 0r mobile phone operating system markets, are

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                                                   merely for background purposes. This is a fair reading 0f the FAC. However, even where
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                                                   Plaintiffs expressly allege the relevant market for antitrust purposes, their framing 0f it is not




                                                   4
                                                       “Historically, some combinations, such as agreements t0 ﬁx prices, divide markets, 0r tie the
                                                   purchase 0f one product 0r service t0 another, as well as certain boycotts, have been considered
                                                   unreasonable per se and, therefore, illegal.” (Ben-E-Lect v. Anthem Blue Cross Life & Health
                                                   Ins.   C0. (2020) 51 Cal.App.5th 867, 872—873.)

                                                   5
                                                    Apple notes that “[t]he FAC references: a ‘mobile operating system market,’ (FAC 1] 65); a
                                                   ‘mobile gaming purchases market,’ (id); a ‘mobile phone market,’ (id. 1] 72); a ‘mobile device
                                                   market,’ (id); an ‘App Store market,’ (id. 1] 79); an ‘app distribution market,’ (id. 1] 81); a
                                                   ‘purchasing market 0n iOS,’ (id.   93); an ‘iOS device market,’ (id.
                                                                                      1]                                    98); the ‘App Store
                                                                                                                           1]

                                                   marketplace,’ (id. 1] 145); ‘the mobile gaming market,’ (id); and ‘the market for in-app
                                                   purchases,’ (id. 1] 162).”
                                                         Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 10 of 16




                                                   consistent. (See, e.g., FAC,    w 145 [“mobile gaming market”], 149 [“the App Store marketplace,
                                                   a valid antitrust market”] .)

                                                           In opposition t0 Apple’s motion, Plaintiffs state that the relevant market is “digital mobile

                                                   gaming transactions,” consistent with the marketplace deﬁned in the Epic Trial Decision. This

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                                                   phrase is found nowhere in the FAC, but it is close t0 the “mobile gaming market” t0 which the

                                                   FAC does repeatedly refer. It is fair t0 read the FAC t0 allege that this is the relevant market,
                                                   and the Court will focus its analysis 0n this market rather than the “App Store market” t0 which

                                                   many 0f Apple’s arguments 0n demurrer are addressed (since Plaintiffs d0 not defend an “App

                                                   Store market” theory 0n opposition).

                                                           While Apple contends that any “mobile gaming market” is not described in sufﬁcient

                                                   detail in the FAC, the Court does not read Marsh and Chicago Title t0 require the level 0f detail


                                                   demanded by Apple at the pleading stage in every case. Like those authorities, the Court will

                                                   read the FAC liberally t0 assess whether it states a claim. (See Chicago Title, supra, 69 Cal.2d at

                                                   pp. 325—326 [while noting that market was not speciﬁcally deﬁned in the complaint, going 0n t0

                                                   analyze why a theory based 0n defendants’ control 0f the “title insurance market” failed based 0n

                                                   the allegations and facts subject t0 judicial notice]; Marsh, supra, 200 Cal.App.4th at p. 499

                                                   [similarly analyzing the merits of the claim with reference t0 the relevant market; “the

                                                   circumstances described in the pleadings show that Appellant has been able t0 retain privileges

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                                                   t0 practice at other outpatient facilities   [and] d0 not support her claim she has been wholly
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                                                   excluded from practice in the relevant market area (since it is undisputed that San Diego        has a

                                                   number of hospital facilities within the immediate area)”].)

                                                                   2.      Failure t0 Allege Bilateral Conduct

                                                           “It is well settled that the antitrust laws d0 not preclude a trader from unilaterally


                                                   determining the parties with whom it will deal and the terms 0n which it will transact business.

                                                   An antitrust case must be based upon conspiratorial rather than unilateral conduct.” (G.H.I.I.,
                                                   supra, 147 Cal.App.3d at pp. 267—268, citations omitted.) “It is also established, however, that a

                                                   necessary ‘conspiracy’ 0r ‘combination’ cognizable as an antitrust action is formed where a

                                                   trader uses coercive tactics t0 impose restraints upon otherwise uncooperative businesses. If a
                                                        Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 11 of 16




                                                   ‘single trader’ pressures customers 0r dealers into pricing arrangements, an unlawful


                                                   combination is established, irrespective 0f any monopoly 0r conspiracy, and despite the

                                                   recognized right 0f a trader t0 determine with whom it will deal.”                 (Id. at p. 268.)


                                                          Here, Plaintiffs contend that they allege bilateral conduct based 0n the theory that Apple

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                                                   coerces developers t0 pay its 30 percent fee and abide by other terms described in the FAC. But

                                                   “coercion” in this context requires something more than a simple policy that business partners

                                                   agree t0 certain terms. “[A]n illegal combination may be found where a supplier secures

                                                   compliance with announced policies in restraint 0f trade by means which g0 beyond mere

                                                   announcement 0f policy and the refusal t0 deal,” for example, by “tak[ing] ‘afﬁrmative action’ t0

                                                   bring about the involuntary acquiescence 0f its dealers.        .   .
                                                                                                                           .”   (Kolling v. Dow Jones    & C0. (1982)
                                                   137 Cal.App.3d 709, 721 .) This might include “threatening commands” aimed at price-ﬁxing.

                                                   (Id. at pp. 721—722.)   Or it could include a “boycott” t0 extract price concessions.                 (G.H.I.I.,


                                                   supra, 147 Cal.App.3d at pp. 263, fn. 3, 269 [contrasting adequate allegations 0f one record

                                                   store’s boycott 0f distributors accompanied by threats with inadequate allegations as t0 other


                                                   stores that apparently obtained favorable terms from distributors “in an atmosphere 0f free


                                                   competition”].)

                                                          Coercion must be alleged with speciﬁcity. (See Freeman v. San Diego Assn. 0f

                                                   Realtors (1999) 77 Cal.App.4th 171, 196 (Freeman).)            And critically, under the so-called
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                                                   Colgate doctrine, coercion does not include the mere “announcement” 0f a policy and refusal t0
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                                                   deal with those who d0 not comply, even when coupled with “measures t0 monitor compliance

                                                   that d0 not interfere with    freedom 0f choice.” (Chavez v. Whirlpool Corp. (2001) 93

                                                   Cal.App.4th 363, 373 (Chavez).) Accordingly, in Chavez, allegations “that Whirlpool

                                                   announced [a] price policy prescribing minimum resale prices                      and informed retailers that it

                                                   would refuse t0 sell products t0 any retailer who did not comply,” and “would monitor the

                                                   retailers’ compliance with the policy by reviewing their advertising, collecting sales receipts, and


                                                   sending ‘mystery shoppers’ t0 retail stores,” were deemed “insufﬁcient t0 establish a coerced

                                                   agreement in Violation 0f the Cartwright Act.   .
                                                                                                       ..”   (Ibid.)




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                                                        Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 12 of 16




                                                            The theory urged by Plaintiffs here is indistinguishable from the announcement plus

                                                   monitoring theory alleged in Chavez:

                                                            As put forth in the FAC, Plaintiffs alleged that Apple entered into agreements

                                                            with both consumers and developers, forcing them t0 abide by Apple’s terms and

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                                                            conditions in order t0 have access t0 the Mobile Gaming Purchases Marketplace.

                                                            (FAC 1] 152.) Any Violation 0f these rules would lead t0 the removal 0f an app 0r

                                                            the voiding 0f a consumer’s warranty. (FAC 1] 79, 81 .)

                                                   (Opp’n, at p. 7.) This amounts t0 open, unilateral conduct by Apple, essentially a “take it 0r

                                                   leave it” deal—not threats, boycotts 0r other such “afﬁrmative action” t0 coerce developers into

                                                   a conspiracy with Apple against others. (See Epic Trial Decision at *25 1—252 [ﬁnding Apple’s

                                                   agreements with developers demonstrated only unilateral conduct]; see also Freeman, supra, 77

                                                   Cal.App.4th at p. 200 [“[t]he law is clear that unilateral pricing decisions d0 not Violate section 1

                                                   0f the Sherman Act”].)

                                                            In arguing t0 the contrary, Plaintiffs rely heavily 0n a preliminary trial court ruling in

                                                   federal antitrust litigation against Qualcomm.      But there, the agreements at issue barred

                                                   manufacturers (OEMS, including Apple) from sourcing modem chips from other suppliers by

                                                   imposing excessive penalties, which “led t0 exclusivity and effectively shut Qualcomm’s

                                                   competitors out 0f the market.” (In re Qualcomm Antitrust Litig. (N.D.Cal. 2017) 292 F. Supp.

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                                                   3d 948, 974—975.) And critically, the opinion distinguished Chavez based 0n allegations “that
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                                                   Qualcomm employed its superior market power and threatened t0 withhold chips if OEMS did

                                                   not agree t0 Qualcomm’s licensing terms.”      (Id. at pp. 976—977.)   Nothing like that is alleged

                                                   here.6


                                                                   3.      Conclusion

                                                            Plaintiffs fail t0 state a claim under the Cartwright Act because the conduct they allege in


                                                   restraint 0f trade is Apple’s unilateral conduct.    So the Court does not need t0 address Apple’s

                                                   remaining arguments about this claim.




                                                   6
                                                    Apple notes that the district court’s eventual ruling against Qualcomm in this case was reversed
                                                   0n appeal. (See FTC v. Qualcomm Inc. (9th Cir. 2020) 969 F.3d 974.)


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                                                          Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 13 of 16




                                                           Plaintiffs’ second cause 0f action for Violation 0f the UCL’S “unlawful” prong is based 0n


                                                   their Cartwright Act claim, and fails for the same reason.

                                                           Apple’s demurrer t0 both 0f these claims is SUSTAINED with 60 days’ leave t0 amend.

                                                           B.      The Third 0f Action Under the UCL “Unfair” Prong
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                                                           In their third cause 0f action under the UCL’S “unfair” prong, Plaintiffs allege that

                                                   Apple’s practices were unfair because (1) they caused consumers t0 pay unfairly inﬂated prices

                                                   for goods sold inside Fortnight and (2) “Anti-steering provisions by Apple prevented consumers

                                                   from receiving information,       preventing them from being fully educated about options,

                                                   including purchase options” and preventing them “from attributing the cost t0 the platform

                                                   versus the developer.” (FAC,    w 178—183.) Apple’s unfair practices caused      Plaintiffs and the


                                                   putative class “t0 pay supra-competitive and artiﬁcially-inﬂated prices for digital goods and

                                                   currency within the Fortnite app.” (FAC, 1] 176.)

                                                           Apple contends that this claim must fail because “the predicate acts are not actionable,”

                                                   Plaintiffs have an adequate remedy at law, and Plaintiffs have n0 available remedy under the


                                                   UCL.

                                                                   1.      Actionable Conduct

                                                           Apple’s ﬁrst argument regarding “actionable conduct” is that because Plaintiffs fail t0

                                                   state a claim under the Cartwright Act, they cannot state a   UCL “unfair prong” claim, either.
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                                                   constitutes an “unfair” act 0r practice under the   UCL in the consumer context. (See Nationwide
                                                   Biweekly Administration, Inc. v. Superior Court (2020) 9 Cal.5th 279, 303, fn. 10 [describing,

                                                   but not resolving, split 0f authority].)   One line 0f appellate decisions has adopted a “balancing”

                                                   test, which requires a court t0 examine the challenged practice’s “impact 0n its alleged Victim,


                                                   balanced against the reasons, justiﬁcations and motives 0f the alleged wrongdoer.” (Smith v.

                                                   State Farm Mutual Automobile Ins. C0. (2001) 93 Cal.App.4th 700, 718, internal quotation

                                                   marks omitted.) Another line 0f decisions has adopted a “tethering test,” requiring that “the

                                                   public policy which is a predicate t0 [a consumer unfair competition action under the ‘unfair’

                                                   prong 0f the UCL] must be ‘tethered’ t0 speciﬁc constitutional, statutory 0r regulatory




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                                                           Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 14 of 16




                                                   provisions.” (Gregory v. Albertson ’s, Inc. (2002) 104 Cal.App.4th 845, 854.)         A ﬁnal line of
                                                   decisions has adopted a “section 5 test,” namely that: “(1) The consumer injury must be

                                                   substantial; (2) the injury must not be outweighed by any countervailing beneﬁts t0 consumers 0r


                                                   competition; and (3) it must be an injury that consumers themselves could not reasonably have

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                                                   avoided.”    (Camacho v. Automobile Club ofSouthern California (2006) 142 Ca1.App.4th 1394,

                                                   1403)

                                                            But Chavez held that regardless 0f which test applies in the consumer context, “we

                                                   conclude as a matter 0f law that conduct that the courts have determined t0 be permissible under

                                                   the Colgate doctrine cannot be deemed ‘unfair’ under the unfair competition law.” (Chavez,

                                                   supra, 93 Cal.App.4th at p. 375.) Subsequent California authorities are in accord. (See Drum v.

                                                   San Fernando Valley Bar Assn. (2010) 182 Cal.App.4th 247, 255 [citing Chavez for the

                                                   proposition that the fact “that a unilateral resale price policy is ‘not an unreasonable restraint 0f

                                                   trade necessarily implies that the conduct is not “unfair” toward consumers’ under the UCL,”

                                                   afﬁrming judgment for defendant 0n demurrer emphasizing its unilateral conduct]; SC

                                                   Manufactured Homes, Inc. v. Liebert (2008) 162 Cal.App.4th 68, 93 (SC) [Citing Chavez for the
                                                                      “C
                                                   proposition that        [i]f the same conduct is alleged t0 be both an antitrust Violation and an


                                                   “unfair” business act 0r practice for the same reason—because it unreasonably restrains

                                                   competition and harms consumers—the determination that the conduct is not an unreasonable

NNNNNNNNNHHHHHHHHHH                                restraint 0f trade necessarily implies that the conduct is not “unfair” toward consumers’ ”;
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                                                   sustaining judgment for defendant 0n demurrer]; Belton v. Comcast Cable Holdings, LLC (2007)

                                                   151 Cal.App.4th 1224, 1240 [citing Chavez for the same proposition as SC and sustaining

                                                   judgment for defendant 0n summary adjudication].)

                                                            Here, Plaintiffs’ theories both depend 0n unilateral conduct by Apple that is protected by

                                                   the Colgate doctrine. This includes the “anti-steering” theory. (See, e.g., FAC, 1] 69

                                                   [“Developers are forced into non-negotiable contracts if they wish t0 d0 business 0n the App

                                                   Store   —   these developers are required t0 use Apple’s In-App Purchase system and may not

                                                   include [any] alternative payment solutions in the app whatsoever.        They cannot steer users t0

                                                   alternative payment methods outside the app, as apps and their metadata may not include




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                                                            Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 15 of 16




                                                   buttons, external links, 0r other calls t0 action that direct customers t0 purchasing methods other

                                                   than Apple’s In-App Purchase system.”].)7

                                                             Per Chavez and the other authorities cites above, Plaintiffs’ UCL “unfair” prong claim

                                                   must also fail.

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                                                                     2.     Conclusion

                                                             The Court SUSTAINS Apple’s demurrer t0 the third cause 0f action under the UCL’S

                                                   “unfair” prong, also with 60 days’ leave t0 amend.


                                                             C.      The Fourth Cause 0f Action for Breach 0f the Implied Covenant 0f Good

                                                                     Faith and Fair Dealing

                                                             Plaintiffs’ claim for breach of the implied covenant 0f good faith and fair dealing arises


                                                   from Apple’s “terms and conditions,” which they allege that they and other putative class

                                                   members agreed t0 in order t0 use the App Store. (FAC, 1] 188.) Plaintiffs allege that they

                                                   performed their duties under the terms and conditions, but Apple unfairly and in bad faith

                                                   (1) “restrict[ed] payment options for in-app purchases, resulting in Plaintiffs and the Class

                                                   paying an inﬂated price for purchases within Fortnite” and (2) “refus[es] t0 reinstate Fortnite

                                                   onto the App Store, and is thus acting in bad faith by deliberately acting t0 deprive Plaintiffs and

                                                   the Class 0f the use 0f Fortnite and any digital goods found within, and further by interfering

                                                   with Plaintiffs and the Class use 0f the Fortnite application downloaded through the App Store.”

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                                                   (Id. at   W 191—194.)
                                                             Apple contends that Plaintiffs fail t0 specify the “terms and conditions” upon which this

                                                   claim is based, and the only terms upon which it could be based expressly permit the conduct at

                                                   issue.    On opposition, Plaintiffs are non-committal about what “terms and conditions” this claim
                                                   is based 0n.   But Plaintiffs’ own authority emphasizes that “[t]he implied covenant 0f good faith

                                                   and fair dealing rests upon the existence 0f some speciﬁc contractual obligation.” (Avidily

                                                   Partners, LLC v. State ofCalifomia (2013) 221 Cal.App.4th 1180, 1204 (Avidily), Citing Foley v.

                                                   Interactive Data Corp. (1988) 47 Cal.3d 654 (Foley).) “[T]he scope 0f conduct prohibited by the



                                                   7
                                                       While the Epic Trial Decision found a UCL “unfair prong” Violation based 0n the “anti-
                                                   steering” theory, its discussion 0f Chavez was cursory, and it did not address Chavez’s
                                                   application 0f the other California authorities cited above.


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                                                           Case 4:20-cv-05640-YGR Document 1018-2 Filed 09/30/24 Page 16 of 16




                                                   covenant 0f good faith is circumscribed by the purposes and express terms 0f the contract.”

                                                   (Avidily, supra, 221 Cal.App.4th at p. 1204, quoting Carma Developers (Cal), Inc. v. Marathon


                                                   Development California, Inc. (1992) 2 Cal.4th 342, 373.) “[S]ince the covenant is an implied

                                                   term in the contract,” the contract is a prerequisite. (Smith v. City and County ofSan

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                                                   Francisco (1990) 225 Cal.App.3d 38, 49.)      And t0 state a claim for breach 0f contract, the terms

                                                   0f the contract must be alleged in some manner. (See Progressive West Ins. C0. v. Superior

                                                   Court (2005) 135 Cal.App.4th 263, 270, fn. 1 [taking judicial notice 0f terms 0f operative

                                                   contract that were not pleaded as required].)

                                                            In the Court’s View, applying these authorities, Plaintiffs must at least allege what “terms

                                                   and conditions” their claim for breach 0f the implied covenant arises from. Apple’s demurrer t0

                                                   this claim is therefore   SUSTAINED, but the Court will give Plaintiffs 60 days’ leave t0 amend.
                                                   V.       CONCLUSION
                                                            As discussed above, each cause 0f action in the FAC fails t0 state a claim. On this basis,

                                                   Apple’s demurrer is SUSTAINED with 60 days’ leave t0 amend. The Court therefore does not

                                                   need t0 address Apple’s arguments regarding permissible remedies in this case.

                                                            IT IS SO ORDERED.


                                                   Date:
                                                                February 4, 2022
                                                                                                   The Honorable Sunil R. Kulkarni
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                                                                                                   Judge 0f the Superior Court
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